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14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17
     NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-01766-EMC
18   GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
     M.H., CECILIA DANIELA GONZÁLEZ                  PLAINTIFFS’ ADMINISTRATIVE
19   HERRERA, ALBA CECILIA PURICA                    MOTION FOR ORDER SHORTENING
     HERNÁNDEZ, E.R., and HENDRINA VIVAS             TIME AND SETTING SCHEDULE RE:
20   CASTILLO,                                       PLAINTIFFS’ MOTION TO POSTPONE
                                                     EFFECTIVE DATE OF EFFECTIVE
21               Plaintiffs,                         ACTION (ECF 16)
            vs.
22
     KRISTI NOEM, in her official capacity as
23   Secretary of Homeland Security, UNITED
     STATES DEPARTMENT OF HOMELAND
24   SECURITY, and UNITED STATES OF
     AMERICA,
25
                   Defendants.
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                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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1           In accordance with Civil Local Rules 6-3 and 7-11 and this Court’s rules and orders,

2    Plaintiffs respectfully move the Court to modify the briefing schedule with respect to Plaintiffs’

3    Motion to Postpone Effective Date of Effective Action (“Motion to Postpone”), filed February 20,

4    2025 (ECF 16).

5           In support of this Administrative Motion for Order Shortening Time and Setting Schedule

6    (“Motion”), Plaintiffs submit that good cause exists to shorten time as set forth below:

7           1.        Plaintiffs’ Motion to Postpone is currently set to be heard by this Court on March 27,

8    2025. See ECF 40.

9           2.        This matter pertains to the Department of Homeland Security’s unlawful decision to

10   “vacate” the January 17, 2025 extension of Temporary Protected Status for Venezuela (which had

11   extended TPS through October 2, 2026), and, subsequently, to terminate Venezuela’s 2023 TPS

12   designation. The termination will go into effect on April 3, 2025, when employment authorization

13   documents for nearly 350,000 Venezuelan TPS holders who initially registered for TPS under

14   Venezuela’s 2023 designation will expire; those TPS holders will become subject to deportation on

15   April 8, 2025.

16          3.        Plaintiffs allege that the vacatur and termination are unlawful under the

17   Administrative Procedure Act (“APA”) and the anti-discrimination guarantee of the Fifth

18   Amendment’s Due Process Clause, and must be set aside.

19          4.        Due to the imminent effective date of the termination of Venezuela’s 2023 TPS

20   designation on April 3, 2025, which has already begun to wreak havoc on the lives of affected TPS

21   holders as described below, Plaintiff sought to secure an agreement by e-mail with Defendants’

22   counsel to accelerate the briefing and hearing of Plaintiffs’ Motion to Postpone. Government counsel

23   rejected Plaintiffs’ proposal to shorten the schedule, and has stated a desire to maintain this Court’s

24   default schedule. See Arulanantham Decl. in Support of Motion to Shorten Time, Ex. 1.

25          5.        Good cause exists for this Court to hear Plaintiffs’ Motion to Postpone on an

26   expedited timeframe, as that time is needed to provide the Court an opportunity to rule on the merits

27   of Plaintiffs’ motion in advance of the April 3, 2025 effective termination date and April 8, 2025

28   deportation-eligibility date for nearly 350,000 Venezuelan TPS holders. The record also shows that
                                                      1
                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                              SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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 1   Plaintiffs have begun to suffer irreparable harm from the imminent loss of their employment

 2   authorization and immigration status. Small business owners across the country must decide whether

 3   to sell their businesses or lay off employees. See, e.g., ECF No. 19 (Ferro Dec. ¶ 13). Others are

 4   considering whether to sell their homes and cars, end leases, and take other steps that will cause

 5   irreparable economic injury. ECF No. 34 (Palma Dec. ¶ 33). And, of course, every day that the

 6   termination comes closer is another day on which Plaintiffs and thousands of other Venezuelan TPS

 7   holders will suffer the acute mental anguish caused by the prospect that they could become

 8   undocumented and face imminent arrest and detention, followed by deportation to Venezuela. See

 9   generally ECF Nos. 20 (E.R. Dec. ¶ 19), 32 (M.H. Dec. ¶ 27), 17 (A.V. Dec. ¶¶ 12-13), 36 (Vivas

10   Castillo Dec. ¶¶ 20, 24).

11          6.      For those reasons, Plaintiffs propose the following timeline:

12          •       Defendants file their Response to Plaintiffs’ Motion to Postpone by March 3, 2025;

13          •       Plaintiffs file their Reply to Defendant’s Response by March 7, 2025; and

14          •       Plaintiffs respectfully request that, if the Court deems argument on Plaintiffs’ Motion

15                  to Postpone helpful, argument should be heard at any other time convenient for the

16                  Court on or before March 21, 2025.

17          7.      There have been no previous time modifications in this case.

18          8.      Under Plaintiffs’ proposed schedule, Defendants would have 11 days to file their

19   response to Plaintiffs’ Motion to Postpone. Plaintiffs would then have four days to file a reply.

20          9.      Although Plaintiffs’ proposed schedule shortens time for both parties to prepare their

21   respective briefs, Plaintiffs are offering and prepared to shoulder substantially more of the burden of

22   this shortened schedule by filing their reply within four days after Defendants file their response

23   (and without any intervening weekend).

24          10.     If granted, the requested motion to shorten time will have no effect on the overall case

25   schedule. Plaintiffs filed the Motion to Postpone on February 20, 2025, one day after filing the

26   Complaint. Although the Court has scheduled an initial case management conference for May 20,

27   2025 (ECF 39), no other schedules have been set.

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                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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 1          11.    Based on the foregoing, and for good cause shown, Plaintiffs respectfully request that

 2   the Court modify the briefing and hearing schedule as set forth in paragraph 6 above.

 3
      Date: February 24, 2025                            Respectfully submitted,
 4

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 6
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 7                                                       Ahilan T. Arulanantham
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                                                         Application Forthcoming)
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                                                         Attorneys for Plaintiffs
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                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on February 24, 2025, I caused the foregoing to be electronically filed

3    with the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

4    (NEF) to all counsel of record.

5
                                                          CENTER FOR IMMIGRATION LAW AND
6                                                         POLICY, UCLA SCHOOL OF LAW
7
                                                          /s/ Ahilan T. Arulanantham     _____
8                                                         Ahilan T. Arulanantham

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                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
